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15
                                   UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
     IMPINJ, INC.,                                    Case No. 4:19-cv-03161-YGR-AGT
18
                            Plaintiff,
19                                                    PLAINTIFF IMPINJ, INC.’S REPLY IN
            v.                                        SUPPORT OF ITS MOTION FOR
20                                                    SUPPLEMENTAL DAMAGES AND
     NXP USA, INC.,                                   IMPOSITION OF A ROYALTY FOR
21                                                    NXP’S ONGOING WILLFUL
                            Defendant.                INFRINGEMENT OF U.S. PATENT NO.
22                                                    8,115,597
23
                                                      Hearing Date: Tuesday, November 21, 2023
24                                                    Time: 2:00 p.m.
                                                      Location: Courtroom 1, 4th Floor
25                                                    Judge: Hon. Yvonne Gonzalez Rogers

26                                                    REDACTED VERSION OF DOCUMENT
                                                      FILED UNDER SEAL
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 1   I.     NXP’S OPPOSITION MISUNDERSTANDS IMPINJ’S POSITION AND TAKES
            UNSUPPORTED POSITIONS
 2
            A mere 3% royalty for both supplemental damages and an ongoing royalty would be an
 3
     immense windfall for NXP and nowhere near the actual harm Impinj continues to suffer from
 4
     NXP’s now-willful infringement. NXP’s opposition seeks to write out the jury’s lost-profit award
 5
     from the equation, going against the clear aim of the damages statute to adequately compensate a
 6
     patentee for the infringement it has endured. Worse, NXP’s measly 3% royalty so severely
 7
     undercompensates Impinj that it may be forced to resort to serial litigation to recoup its true losses.
 8
            NXP misinterprets Impinj’s position as asking for a reassessment of the court’s nexus
 9
     finding. Impinj, however, simply asks the court to recognize that the renewed hypothetical
10
     negotiation must account for Impinj’s anticipated future lost profits. Impinj has conservatively
11
     estimated those anticipated losses based on the jury-awarded lost profits, which rely in part on the
12
     connection between NXP’s infringement and Impinj’s harm. The remainder of NXP’s opposition
13
     consists of red herrings, unsupported conjecture, and inapposite law.
14
            A.      NXP ignores that changed circumstances warrant a higher royalty rate for
15                  post-verdict willful infringement

16          Impinj is entitled to an ongoing royalty commensurate with the jury’s damages award. As

17   explained in Impinj’s motion, the jury had substantial evidence to award both lost profits and a

18   reasonable royalty. Impinj showed that its patented rectifier materially improves read sensitivity

19   and that NXP’s improved read sensitivity—enabled by use of the infringing rectifier—drove

20   customer demand for its products. Thus, the jury found that NXP’s infringement directly caused

21   Impinj’s lost profits. Impinj simply requests that the ongoing royalty for NXP’s continued post-trial

22   infringement account for the entirety of this harm.

23                  1.      Impinj’s anticipated lost profits must be considered as part of the
                            renewed hypothetical negotiation
24
            NXP does not dispute that the ongoing-royalty analysis requires a renewed hypothetical
25
     negotiation to examine circumstances that have changed from the pre-trial analysis. Dkt. 482-4 at
26
     8; see also Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1314-15 (Fed. Cir. 2007); Arctic Cat
27
     Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1370 (Fed. Cir. 2017). But NXP
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                                                                             IMPINJ’S REPLY ISO MOTION FOR
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 1   wrongly asserts that only validity and infringement have changed from the pre-verdict hypothetical

 2   negotiation. To the contrary, the pre-verdict analysis did not (and could not) account for the parties’

 3   current economic risks and market positions. Impinj’s motion explained these changed

 4   circumstances, and Impinj believes that an evidentiary hearing would help to further illuminate the

 5   situation. Dkt. 476-3 at 12-14. In particular, Impinj showed that the post-verdict market is decidedly

 6   different than the pre-verdict market. For example, NXP’s UCODE 7 sales have consistently

 7   decreased since 2017 to just 14.66% market share by 2021; Ms. Kindler’s pre-verdict analysis

 8   assumed a 33% market share for UCODE 7. Dkt. 476-3 at 13. Further, the pre-verdict analysis

 9   conservatively excluded Impinj’s new M700 product due to some potential production difficulties

10   which no longer exist; M700 is now Impinj’s best-selling product. See Dkt. 476-3 at 14-15; Dkt.

11   461-1 ¶¶ 3-4. These changed factors would significantly impact the royalty rate that Impinj would

12   find “reasonable” in a post-verdict hypothetical negotiation. See, e.g., Boston Sci. Corp. v. Cordis

13   Corp., 838 F. Supp. 2d 259, 275-76 (Fed. Cir. 2012); Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538,

14   1554-55 (Fed. Cir. 1995) (a reasonable royalty “does not include a royalty that a patentee who does

15   not wish to license its patent would find unreasonable”); see also, e.g., Paice, 504 F.3d at 1315

16   (“Upon remand, the court may take additional evidence if necessary to account for any additional

17   economic factors arising out of the imposition of an ongoing royalty.”); ActiveVideo Networks, Inc.

18   v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1343 (Fed. Cir. 2012) (“The district court may wish to

19   consider on remand additional evidence of changes in the parties’ bargaining positions and other

20   economic circumstances ….”). In any event, the adjudication of infringement and validity alone

21   changes the parties’ bargaining positions and warrants revisiting the hypothetical negotiation under

22   Federal Circuit precedent. See, e.g., ActiveVideo, 694 F.3d at 1341-43; Amado v. Microsoft

23   Corp., 517 F.3d 1353, 1362 (Fed. Cir. 2008); Paice, 504 F.3d at 1317 (Rader, J., concurring).

24          Moreover, the hypothetical negotiation would absolutely account for Impinj’s anticipated

25   lost profits. Otherwise, NXP would get a windfall—it is no surprise that NXP seems more than

26   willing to pay ongoing royalties at 3%. Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538 (Fed. Cir. 1995),

27   is instructive. Although that case dealt with a pre-verdict royalty calculation, it is pertinent to the

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                                                                             IMPINJ’S REPLY ISO MOTION FOR
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 1   post-verdict royalty calculation at issue here because both rely on a hypothetical-negotiation

 2   analysis. See id. at 1554-55. In Rite-Hite, the Federal Circuit affirmed a royalty rate that was

 3   “approximately fifty percent of [the patentee’s] estimated lost profits per unit sold to retailers” for

 4   certain sales and “approximately one-third its estimated lost distribution income per infringing sale”

 5   for other sales. Id. at 1554. In particular, the rates were based on findings that

 6                  Rite–Hite would have been willing to grant a competitor a license to
                    use the ’847 invention only if it received a royalty of no less than
 7                  one-half of the per unit profits that it was foregoing. In so
                    determining, the court considered that the ’847 patent was a
 8                  “pioneer” patent with manifest commercial success; that Rite–Hite
                    had consistently followed a policy of exploiting its own patents,
 9                  rather than licensing to competitors; and that Rite–Hite would have
                    had to forego a large profit by granting a license to Kelley because
10                  Kelley was a strong competitor and Rite–Hite anticipated being able
                    to sell a large number of restraints and related products.
11   Id. at 1554 (second emphasis added). Likewise, here, Impinj and NXP are direct competitors, the
12   ’597 patent is a “pioneer” patent in single-path rectifiers, Impinj has never licensed the ’597 patent
13   or any other of its numerous patents to a competitor, and Impinj will have to forgo an enormous
14   profit by permitting NXP’s infringing products to remain on the market. See, e.g., Tr. vol. 5
15   (Kindler), 772:17–23, 735:10–16; Tr. vol. 2, (Oliver) at 336:12–337:3; Tr. Ex. 1; Tr. vol. 3
16   (Dossett), 605:9–607:25; Tr. vol. 2 (Diorio), 237:18-25, 238:17–20; Dkt. 426 at 6. Thus, it is clear
17   that the hypothetical negotiation should consider the parties’ competitive landscape, including the
18   Impinj’s anticipated lost profits. See also Motorola Sols. Inc. v. Hytera Commc’ns Corp., No. 1:17-
19   cv-01973, 2021 WL 6690279, at *6 (N.D. Ill. Dec. 14, 2021) (“So too may [either party’s] past or
20   expected profits be considered under at least four of the Georgia-Pacific factors.”).
21          Boston Scientific Corp. v. Cordis Corp. likewise shows the importance of considering lost
22   profits in the ongoing-royalty analysis. There, the jury awarded lost profits on 44% of the infringing
23   sales and a reasonable royalty for the remaining infringing sales. 838 F. Supp. 2d at 265. The court
24   awarded an ongoing royalty at more than ten times the jury’s awarded royalty rate. Id. at 275-76.
25   The ongoing royalty rate of 32% was based on a per-unit extrapolation combining both the jury’s
26   lost-profits award and 2.95% reasonable royalty—exactly what Impinj has proposed here. Id. at
27   275-76. In making that award, the court recognized that “[a] post-verdict royalty is fundamentally
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                                                                              IMPINJ’S REPLY ISO MOTION FOR
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 1   different from a pre-verdict royalty.” Id. at 275 (citing Amado v. Microsoft Corp., 517 F.3d 1353,

 2   1361 (Fed. Cir. 2008)). Moreover, “[t]he court decline[d] to allow [the defendant], an adjudicated

 3   willful infringer, to effectively owe less for its post-verdict infringement than the jury found for its

 4   pre-verdict infringement.” Id. at 276.

 5          NXP’s criticisms of Boston Scientific are unfounded. First, NXP misleadingly suggests that

 6   an injunction in that case was denied on “public policy grounds.” Dkt. 482-4 at 13. In fact, the

 7   plaintiff never moved for an injunction and instead only sought ongoing royalties. 838 F. Supp. 2d

 8   at 275. Moreover, NXP cites nothing to support its suggestion that the reason for denying an

 9   injunction should impact the ongoing-royalty calculation. It is likewise immaterial that the

10   defendant’s pre-verdict infringement was willful or that the infringement had been affirmed on

11   appeal, and NXP again has no support for its contrary suggestion. None of these factors changes

12   the relevance of lost profits to the ongoing-royalty analysis. Finally, NXP is again wrong that the

13   Boston Scientific court “provide[s] no reasoning to support its position.” Dkt. 482-4 at 13. The court

14   clearly based its opinion on settled Federal Circuit precedent that “the calculus” for post-verdict

15   ongoing royalties “is markedly different” from the pre-verdict assessment “because different

16   economic factors are involved,” and proceeded to assess how those differences impacted the

17   awarded rate. 838 F. Supp. 2d at 275-76 (citing Amado, 517 F.3d at 1362).

18          NXP’s cited cases, by contrast, are taken out of context. The court in ArcherDX, LLC v.

19   Qiagen Scis., LLC, No. CV 18-1019-(MN), 2022 WL 4597877, at *16 (D. Del. Sept. 30, 2022),

20   declined to increase the jury-awarded royalty rate to account for lost profits because the plaintiff

21   “point[ed] to no other factors other than the lost profits award to support their” request. Here, Impinj

22   requests an ongoing royalty that accounts for its anticipated future losses as estimated by the jury-

23   awarded lost profits, as well as other significant changes in the market and the parties’ bargaining

24   positions—this is far more than simply “point[ing] to” the existence of a lost-profit award. In

25   Purewick Corp. v. Sage Prod., LLC, No. CV 19-1508-(MN), 2023 WL 2734418 (D. Del. Mar. 31,

26   2023), the jury awarded only lost profits for one product and only a reasonable royalty for a second

27   product. Id. at *2. Thus, there was no reason why the lost-profit award from the first product should

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 1   impact the ongoing royalty rate to be applied to the second product. Moreover, the plaintiff

 2   “point[ed] to no other circumstances that indicate it would be able to negotiate a rate higher than

 3   the rate determined by the jury.” Id. at *16. Here, the jury awarded both lost profits and a royalty

 4   for the same products, and, as discussed, Impinj has demonstrated significant circumstantial

 5   changes warranting a higher ongoing royalty rate. Finally, in Presidio Components Inc. v. Am. Tech.

 6   Ceramics Corp., No. 08-CV-335-IEG (NLS), 2010 WL 3070370 (S.D. Cal. Aug. 5, 2010), the jury

 7   awarded only lost profits, and the court declined to convert that purely lost-profits award into an

 8   ongoing royalty. Id. at *1, *3. The court ultimately performed a hypothetical-negotiation analysis

 9   and awarded the alternative royalty rate that the plaintiff had asked for because any lower rate would

10   “give [the defendant], who is now a willful infringer, a windfall at [the plaintiff’s] expense.” Id. at

11   *6. Here, too, Impinj’s ongoing royalty must account for the entirety of the jury’s award to avoid a

12   windfall for NXP.

13                  2.      Impinj’s motion discussed nexus only because it is relevant to the
                            renewed hypothetical negotiation, not to ask the court to revisit that
14                          issue
15          Because of the importance of Impinj’s anticipated lost profits to the renewed hypothetical

16   negotiation, its motion reiterated that the jury’s lost-profit award necessarily found a connection

17   between Impinj’s lost profits and NXP’s infringement of the ’597 patent. See Dkt. 476-3 at 2, 12-

18   13, 16-17. Unlike NXP, Impinj was not attempting to re-litigate the nexus question. Thus, NXP’s

19   arguments against nexus are misplaced. Dkt. 482-4 at 13-14. Most fundamentally, NXP’s sideshow

20   fails to deal with the purpose of Impinj’s discussion: to show the connection between the ’597

21   patented technology, NXP’s infringement, and Impinj’s lost profits for purposes of accounting for

22   Impinj’s anticipated future losses in the renewed hypothetical negotiation. E.g., Rite-Hite, 56 F.3d

23   at 1554-55; Georgia-Pacific, (factor 8 considers the profitability of a product practicing the patent,

24   factor 13 considers the “portion of the realizable profit that should be credited to the invention”).

25          Moreover, NXP forfeited any argument against nexus as it relates to the lost-profit award

26   because it chose not to move for JMOL on that issue. Dkt. 419 at 9-12; see i4i Ltd. P’ship v.

27   Microsoft Corp., 598 F.3d 831, 845 (Fed. Cir. 2010), aff’d, 564 U.S. 91 (2011). In any event, as

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 1   Impinj reiterated in its motion, the patented rectifier substantially impacts read sensitivity, which,

 2   as the jury found, drove customer demand. See Dkt. 476-3 at 5-10. Contrary to NXP’s suggestion,

 3   Impinj has never taken the position that the rectifier alone determines sensitivity. See Dkt. 476-3 at

 4   6; Tr. vol. 5 (Kindler) at 760:15–25.

 5          NXP’s related discussion of the jury instructions on non-infringing alternatives and market-

 6   share theory makes no sense. Dkt. 482-4 at 14. The jury clearly found a nexus between NXP’s

 7   infringement and Impinj’s lost profits for 57% of NXP’s infringing sales under the exact market-

 8   share theory that Impinj presented at trial. Dkt. 426 at 6-7. Further, NXP cites no authority to

 9   support its theory that the jury must find no non-infringing alternatives in order to imply a causal

10   nexus. The law is clearly to the contrary. Presidio Components, Inc. v. Am. Tech. Ceramics Corp.,

11   702 F.3d 1351, 1363 (Fed. Cir. 2012) (in awarding lost profits, “the jury necessarily found [the

12   defendant’s] capacitor sales caused [the plaintiff] to lose BB capacitor sales.”).

13          Finally, NXP’s assertion that the court would need to hold an annual evidentiary hearing to

14   assess profit margins misunderstands Impinj’s position. Impinj has never suggested that the

15   ongoing royalty must account for actual lost profits. Again, Impinj’s anticipated future losses—

16   estimated based on the lost profits that the jury awarded—are factored into the awarded ongoing

17   royalty rate as part of the hypothetical negotiation.

18                  3.      Impinj’s ongoing royalty must be higher than the jury-awarded royalty
                            rate to avoid substantial continuing harm and the potential for serial
19                          litigation
20          The court would be well within its discretion to award an ongoing royalty at a rate higher

21   than the jury’s pre-verdict royalty rate, particularly given the jury’s lost-profit award. Numerous

22   cases award ongoing royalties well above the jury’s awarded rate even without a lost-profits award

23   to consider. See, e.g., ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1341-

24   43 (Fed. Cir. 2012); Amado, 517 F.3d at 1362 n.2; XY, LLC v. Trans Ova Genetics, LC, No. 13-

25   CV-0876-WJM-NYW, 2019 WL 1403160, at *5 (D. Colo. Mar. 28, 2019); Arctic Cat Inc. v.

26   Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1357, 1370, (Fed. Cir. 2017); Opticurrent,

27   LLC v. Power Integrations, Inc., No. 17-CV-03597-EMC, 2019 WL 2389150, at *18 (N.D. Cal.

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 1   June 5, 2019), aff’d, 815 F. App’x 547 (Fed. Cir. 2020); Affinity Lab’ys of Texas, LLC v. BMW N.

 2   Am., LLC, 783 F. Supp. 2d 891, 899, 905 (E.D. Tex. 2011); Imperium IP Holdings (Cayman), Ltd.

 3   v. Samsung Elecs. Co., No. 4:14-CV-371, 2017 WL 4038884, at *3 (E.D. Tex. Sept. 13, 2017); I/P

 4   Engine, Inc. v. AOL Inc., No. 2:11CV512, 2014 WL 309245, *2-*4 (E.D. Va. Jan. 28, 2014), rev’d

 5   on other grounds, Nos. 2013-1307, -1313, 576 F. App’x 982, 992 (Fed. Cir. Aug. 15, 2014). NXP’s

 6   only response is to cite other cases that did not award a higher ongoing royalty rate with no

 7   explanation for why the reasoning in those cases should apply here. Dkt. 482-4 at 9.

 8          As Impinj explained in its motion, NXP’s post-verdict willful infringement further supports

 9   an ongoing royalty rate higher than the jury’s awarded rate. Dkt. 476-3 at 11-12 (collecting cases).

10   That the jury found willfulness for pre-verdict infringement in some of Impinj’s cited cases has no

11   bearing on the fact that the post-verdict infringement in those cases was also clearly willful.

12   Accordingly, NXP’s reliance on UroPep GbR v. Eli Lilly & Co., No. 2:15-CV-1202-WCB, 2017

13   WL 3034655 (E.D. Tex. July 18, 2017), is misplaced. Dkt. 482-4 at 11-12. There, although the

14   court declined to rely on willfulness to enhance the ongoing royalty award, it did so because the

15   parties were “non-competitor[s],” “the plaintiff [chose] not to seek an injunction,” and “the

16   defendant’s continuing infringement in fact benefit[ted] the plaintiff”—none of those facts is

17   present here. UroPep, 2017 WL 3034655 at *9. Notably, even without relying on willfulness, the

18   court still awarded an ongoing royalty twice as high as the jury’s awarded rate based on changed

19   circumstances, namely the doubling of the defendant’s estimated “average profit margins during

20   the post-verdict period.” Id. at *11-13; see id. at *13 (“[P]rofitability is not only included in

21   the Georgia-Pacific factors but is also a key concern in a negotiation between reasonable parties.”).

22          Plenty of other cases have also awarded an ongoing royalty rate higher than the jury-

23   awarded royalty rate without relying on pre-verdict willfulness. See, e.g., ActiveVideo Networks,

24   Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1341-43 (Fed. Cir. 2012); XY, LLC v. Trans Ova

25   Genetics, LC, No. 13-CV-0876-WJM-NYW, 2019 WL 1403160, at *5 (D. Colo. Mar. 28, 2019);

26   Opticurrent, LLC v. Power Integrations, Inc., No. 17-CV-03597-EMC, 2019 WL 2389150, at *18

27   (N.D. Cal. June 5, 2019), aff’d, 815 F. App’x 547 (Fed. Cir. 2020); Affinity Lab’ys of Texas, LLC

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 1   v. BMW N. Am., LLC, 783 F. Supp. 2d 891, 899, 905 (E.D. Tex. 2011); I/P Engine, Inc. v. AOL

 2   Inc., No. 2:11CV512, 2014 WL 309245, *2-*4 (E.D. Va. Jan. 28, 2014), rev’d on other grounds,

 3   Nos. 2013-1307, -1313, 576 F. App’x 982, 992 (Fed. Cir. Aug. 15, 2014); Broadcom Corp. v.

 4   Emulex Corp., No. 09-cv-1058 JVS, 2012 WL 13036855, at *1, *9 (C.D. Cal. Mar. 16, 2012), aff’d,

 5   732 F.3d 1325 (Fed. Cir. 2013).

 6          As explained above, courts often increase the jury-awarded rate for purposes of post-verdict

 7   infringement. NXP acknowledges as much but argues that increases are always “modest.” First,

 8   NXP ignores that Boston Scientific applied an ongoing royalty that was more than ten times the

 9   jury-awarded royalty rate. 838 F. Supp. 2d 259, 276. Other cases have tripled the jury-awarded rate.

10   E.g., Broadcom, 2012 WL 13036855, at *1, *9. But the delta is not what matters; the ongoing

11   royalty must account for changed circumstances after trial, whatever they may be. In this case,

12   because the court denied Impinj’s motion for a permanent injunction, NXP will be permitted to

13   continue infringing essentially without consequence unless the court imposes an ongoing royalty at

14   or close to Impinj’s requested rate. A royalty that ensures that Impinj is compensated for its damages

15   avoids repetitive litigation. See Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 34–35

16   (Fed. Cir. 2012); Bard Peripheral Vascular, Inc. v. W.L. Gore & Assocs, No. CV-03-597-PHX-

17   MHM, 2010 WL 11484420, at *3 (D. Ariz. Sept. 8, 2010).

18          B.      NXP seeks to erase the jury’s lost-profit finding from the supplemental
                    damages award
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            As explained in Impinj’s motion, the supplemental damages award must also be
20
     commensurate with the scope of the jury’s award. See Bayer Healthcare LLC v. Baxalta Inc., 989
21
     F.3d 964, 985-86 (Fed. Cir. 2021); Apple, Inc. v. Samsung Elecs. Co., 926 F. Supp. 2d 1100, 1106
22
     (N.D. Cal. 2013), vacated and remanded on other grounds, 786 F.3d 983 (Fed. Cir. 2015), rev’d
23
     and remanded on other grounds, 580 U.S. 53 (2016). Here, that means accounting for both the
24
     jury’s royalty and lost-profit awards. See, e.g., WesternGeco LLC v. ION Geophysical Corp., No.
25
     4:09-CV-1827, 2013 WL 12441931, at *5 (S.D. Tex. Oct. 24, 2013); Radware, Ltd. v. F5 Networks,
26
     Inc., No. 5:13-CV-02024-RMW, 2016 WL 4427490, at *9-11 (N.D. Cal. Aug. 22, 2016).
27
            NXP has no support for its transparent attempt to erase the jury-awarded lost profits from
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 1   any supplemental damages award. Instead, it sets up strawmen to knock down cases supporting

 2   Impinj’s position and affirmatively relies on only inapposite cases that did not unambiguously

 3   award both a reasonable royalty and lost profits. Impinj’s cited cases are directly on point. NXP

 4   does not deny that WesternGeco decidedly supports awarding supplemental damages based on both

 5   the jury’s lost-profit and reasonable-royalty awards. That case unequivocally rejected the royalty-

 6   rate-only argument that NXP makes here because “considering only the reasonable royalty would

 7   insufficiently compensate WesternGeco.” Id. at *5. NXP’s attempts to discredit the WesternGeco

 8   court’s sound reasoning fall flat. First, the court’s opinion was not “unsupported”; rather, it was

 9   expressly based on the “mandate[]” of 35 U.S.C. § 284 that “damages [must be] adequate to

10   compensate for the infringement.” Id. Moreover, the court acknowledged that “[m]ost courts

11   confronting supplemental damages are faced with only one form of damages” to highlight the fact

12   that this case was different. Id. “In this case, the Court must extrapolate the jury’s award of lost

13   profit damages and reasonable royalty to ensure consistency with the jury’s verdict and adequate

14   compensation for WesternGeco.” Id. Radware likewise shows that the supplemental damages

15   award should be commensurate in scope with the jury’s award. There, the court calculated

16   supplemental damages based on lost profits awarded for one product and a reasonable royalty

17   awarded for another product. Id. at *9-10. There is no indication that the court would have simply

18   ignored the lost profits if they were instead awarded for the same product as the royalty; the point

19   is for the supplemental damages to approximate the jury’s award “for infringing units that a jury

20   could not consider at trial.” Id. Finally, Impinj’s citations to Bayer and Apple were simply for the

21   proposition that supplemental damages should reflect the entirety of the jury’s award, not

22   specifically to show the use of both lost profits and a reasonable royalty in calculating supplemental

23   damages, as NXP apparently misunderstood.

24          By contrast, NXP conspicuously omits the fact that its Bayer quote actually states that

25   “supplemental damages in this case merely required applying the jury’s royalty rate” and ignores

26   that the jury only awarded a reasonable royalty there. 989 F.3d at 972, 986 (emphasis added).

27   Transperfect Global, Inc. v. MotionPoint Corp. is likewise easily distinguishable. No. C10-2590

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 1   CW, 2014 WL 6068384 (N.D. Cal. Nov. 11, 2014). There, unlike here, the jury did not expressly

 2   award both a reasonable royalty and lost profits because the verdict form asked for the total amount

 3   of damages. Id. at *2; see Dkt. 426 at 6. Nor did the plaintiff in Transperfect seek to increase the

 4   applied rate to account for a lost-profit award; instead, it “relie[d] largely on the fact that, after

 5   judgment, the patent has been determine to be valid and infringed,” which the court found

 6   insufficient on its own to change the royalty rate resulting from the hypothetical negotiation. Id. at

 7   *5. In short, NXP cites no authority for ignoring the jury’s unambiguous lost-profit award when

 8   determining supplemental damages.

 9          C.      The Court can and should resolve this motion now
10                  1.      This court has jurisdiction over Impinj’s motion for an ongoing royalty
11          Impinj’s request for ongoing royalties is not “inextricably bound” with its permanent-

12   injunction appeal. Despite NXP’s unsupported arguments otherwise, this court was never divested

13   of jurisdiction to decide this motion.

14          In Apple, Inc. v. Samsung Elecs. Co., No. 12-CV-00630, 2014 WL 6687122, *5-6 (N.D.

15   Cal. Nov. 25, 2014), the court faced the same jurisdictional argument that NXP now presents and

16   found it unpersuasive. In fact, the jurisdictional question was not even a “close” one. Id. at *7.

17   There, the court denied the plaintiff’s motion for a permanent injunction, the plaintiff appealed that

18   denial to the Federal Circuit and, a few days later, filed its motion for ongoing royalties with the

19   district court. Id. at *1. The defendant argued that the appeal divested the district court of

20   jurisdiction over the ongoing royalties question because it involved “issues common to a permanent

21   injunction.” Id. at *5. But the district court found the “theory that ongoing royalties are inextricably

22   bound to the permanent injunction appeal [wa]s not supported by the law.” Id. at *6 (citing Griggs

23   v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982); Paige v. Cal., 102 F.3d 1035, 1039

24   (9th Cir. 1996)).

25          The court further explained the “inextricably bound” standard: “predicate issues that are

26   necessary to resolution of an injunction are ‘inextricably bound up with’ an interlocutory appeal

27   and thus removed from the district court’s jurisdiction during the appeal.” But it does not extend to

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 1   a “mere factual overlap between issues.” Id. The Apple court retained jurisdiction because

 2   “determining [the plaintiff’s] entitlement to ongoing royalties was not necessary for resolving [the

 3   plaintiff’s] permanent injunction motion.” Id. In fact, the court recognized that permanent

 4   injunctions also “require some analysis of liability and remedies,” yet the court retained jurisdiction

 5   to resolve the parties other post-trial motions. Id.

 6           Here, too, the mere factual overlap between Impinj’s permanent-injunction appeal and some

 7   of the analysis required for the ongoing-royalties hypothetical negotiation does not divest this court

 8   of jurisdiction to decide Impinj’s motion. The injunction requires an affirmative nexus finding; the

 9   hypothetical negotiation analysis does not. Rather, one factor to consider in setting the ongoing

10   royalty rate is the profits that Impinj anticipates losing due to NXP’s continued infringement. Again,

11   Impinj has not asked this court to revisit its nexus determination, but instead to recognize that the

12   royalty rate Impinj would agree to in a hypothetical negotiation would, in part, be informed by the

13   future risk to Impinj’s profits. In turn, Impinj has estimated that future risk based on the jury’s lost-

14   profit award.

15           NXP fails to meaningfully distinguish this case from Apple. Like the plaintiff in Apple,

16   Impinj also moved for ongoing royalties after the court denied an injunction; as discussed below, it

17   is irrelevant that Impinj included a short discussion of ongoing royalties as an alternative remedy

18   in its motion for injunction to avoid any argument that it waived the issue. NXP is plainly wrong

19   that the defendant in Apple “did not identify any specific findings being challenged on appeal …

20   [and] in the district court.” Dkt. 482-4 at 6. Rather, the defendant there argued that “that ‘the amount

21   of money adequate to compensate Apple’ is ‘involved in the appeal,’” and specifically argued that

22   the “permanent injunction appeal affects application of the Georgia–Pacific factors (for purposes

23   of determining ongoing royalties) because issues such as the probative value of Apple’s patent

24   licenses and demand for the patented features must be ‘re-open[ed].’” Apple, 2014 WL 6687122,

25   at *6. But there, as here, the mere factual overlap between the Federal Circuit’s and this court’s

26   analyses does not divest this court of jurisdiction.

27           Further, the fact that the district court “terminate[d]” the injunction motion was not a ruling

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 1   on the royalty question such that Impinj’s appeal divested the court of jurisdiction over that

 2   question—the court’s order did not discuss or even mention ongoing royalties. Dkt. 472. Even if it

 3   had, the appellate court would not have jurisdiction over the ongoing-royalties portion of the order

 4   anyway. Impinj’s interlocutory appeal derives jurisdiction from the exception to the finality rule

 5   found in 28 U.S.C. § 1292(c)(1). That statute allows an appeal of an injunction order before entry

 6   of a final judgment. There is a similar exception in § 1292(c)(2) for cases that are final except for

 7   an accounting. But neither exception to the finality rule encompasses a ruling on ongoing royalties,

 8   which must be determined before the court can enter final judgment. See Warsaw Orthopedic, Inc.

 9   v. NuVasive, Inc., 515 F. App’x. at 882 (ongoing royalties do not fall into the finality exception

10   under § 1292(c)). Therefore, the Federal Circuit would not have jurisdiction over the ongoing

11   royalties question and, accordingly, this court could not have been divested of jurisdiction to decide

12   Impinj’s motion.

13                  2.      Impinj’s motion for an ongoing royalty was procedurally proper
14          NXP cites no authority to support its theory that Impinj’s motion was improper because its

15   prior motion for a permanent injunction included an alternative request for ongoing royalties. There

16   is plainly no rule prohibiting Impinj from having filed the present motion. See LR 7-1 and 7-2.

17           As it was permitted to, Impinj’s motion for a permanent injunction sought an ongoing

18   royalty as alternative relief. Dkt. 447 at 19-20. Had Impinj not included that alternative request in

19   its injunction motion, NXP surely would have argued for forfeiture, as the defendant unsuccessfully

20   did in Apple. 2014 WL 6687122, at *5. Impinj elected not to expansively brief the ongoing royalties

21   point in its motion for a permanent injunction because, like the plaintiff in Apple, Impinj was weary

22   of “tak[ing] the conflicting position that money damages are inadequate, while simultaneously

23   proposing money damages to remedy the infringement.” Id.

24          However, Impinj’s alternative request for ongoing royalties, made out of an abundance of

25   caution to avoid a forfeiture argument, does not limit the evidence or arguments that Impinj can

26   make to support its present ongoing-royalty request. 1 NXP cites no authority to support this

27
     1
       In the event that the court limits Impinj to its one-page placeholder argument, that argument at
28   least set 9% as the floor for an ongoing royalty based on the ’597 patent. See Dkt. 447 at 19-20.
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 1   aggressive ask. Impinj’s alternative request was never meant to be its last word on the issue. Impinj

 2   did not even request a specific royalty rate in the injunction motion motion—it clearly expected to

 3   provide a more fulsome brief in the event that the court denied injunctive relief. See Dkt. 447 at 19-

 4   20.

 5          Moreover, despite NXP’s suggestion otherwise, Impinj was not required to move for

 6   reconsideration. In fact, there is nothing for the court to “reconsider” at this point, because the

 7   court’s order denying Impinj’s motion for a permanent injunction did not address or even mention

 8   ongoing royalties. 2 Dkt. 472; see LR 7-9. Above all, the court is empowered to revise “any order

 9   or other decision … that adjudicates fewer than all the claims … at any time before the entry of a

10   judgment adjudicating all the claims.” Fed. R. Civ. P. 54(b); see Mendenhall v. Barber-Greene Co.,

11   26 F.3d 1573, 1581 (Fed. Cir. 1994), as corrected on reh’g (Sept. 14, 1994) (the court may

12   “reconsider any portion of its decision and reopen any part of the case” before entry of final

13   judgment). Thus, although Impinj’s present motion was entirely proper, the court is also well within

14   its discretion to consider the motion. To ignore Impinj’s motion would be a manifest injustice—

15   NXP would be free to continue infringing effectively unabated. Importantly, NXP cites no prejudice

16   or other harm that would result from the court considering Impinj’s motion, and none exists because

17   NXP took advantage of the opportunity to fully respond to the motion.

18                  3.      Resolving the motion now is appropriate and will not waste judicial
                            resources
19
            Resolving these disputes now would be a productive use of judicial resources. The Apple
20
     court agreed. 2014 WL 6687122, at *7-*8. There, the court considered and granted the plaintiff’s
21
     request for ongoing royalties while the interlocutory appeal regarding the denial of a permanent
22
     injunction was pending; that is exactly the situation here. 2014 WL 6687122, at *1. In Apple, the
23
     court observed that “ongoing royalties must be addressed before entry of final judgment and appeal
24
     of any remaining issues.” Id. at *7; see Warsaw, 515 F. App’x at 882. Delaying resolution,
25
     therefore, would “prevent the parties from appealing any remaining issues other than denial of a
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     2
       If the court deems it necessary, it should consider the present motion as a motion for leave to seek
28   reconsideration under LR 7-9(b)(3), or simply as a renewed motion for ongoing royalties.
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 1   margin, “[t]here is no rule that a royalty be no higher than the infringer’s net profit margin.” See

 2   State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1580 (Fed. Cir. 1989); see also Stickle v.

 3   Heublein, Inc., 716 F.2d 1550, 1563 (Fed. Cir. 1983) (royalty rate can be higher than the price of

 4   the infringing product).

 5            NXP cites only one case for the proposition that the court must wait to resolve the ’302

 6   patent before deciding the ongoing royalty rate for the ’597 patent. But Tomita Techs. USA v.

 7   Nintendo Co., No. 11-Civ.-4256, 2013 WL 4101251 (S.D.N.Y. Aug. 14, 2013), is readily

 8   distinguishable. There, the court vacated the jury’s damages award as excessive and gave the

 9   patentee the option to either accept a 50% reduction in damages or undertake a new trial on

10   damages. Id. at *8-*9. Thus, damages for the only at-issue patent—which form the starting point

11   for the ongoing-royalty analysis—were unsettled when the patentee requested an ongoing royalty.

12   Id. at *10. Here, by contrast, the pre-verdict damages for the ’597 patent are fixed and entirely

13   distinct from the ’302 patent damages: the jury indisputably awarded $17.68 million in lost profits

14   and a 3% royalty for infringement of the ’597 patent alone. Dkt. 426 at 6-7. Thus, the court can

15   readily determine the ongoing royalty rate for NXP’s continued infringement of the ’597 patent.

16   II.      CONCLUSION
17            For the foregoing reasons, and those stated in Impinj’s motion, Impinj respectfully requests

18   that the Court grant Impinj supplemental damages and an ongoing royalty at the rates requested in

19   Impinj’s motion, and grant an evidentiary hearing to allow Impinj to further support its requested

20   rates.

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26
     Impinj is currently in trial in Texas against NXP on three patents (originally in the instant case),
27   where it is not seeking lost profits on any of them. Impinj has consistently asserted, however, that
     the ’597 invention is the primary driver of the sensitivity and range improvements that are
28   embodied in Impinj’s Monza R6 and subsequent ICs, and in the infringing UCODE 8 and 9 ICs.
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 1   Dated: November 7, 2023
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 1                                    CERTIFICATE OF SERVICE

 2
            The undersigned hereby certifies that a true and correct copy of the above and foregoing
 3
     document has been served via U.S. District Court CM/ECF notification and email on November 7,
 4
     2023 to all counsel of record.
 5

 6
     Dated: November 7, 2023
 7
                                                    /s/ Ramsey M. Al-Salam
 8                                                  Ramsey M. Al-Salam
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